                                            Case 3:07-cv-05944-JST Document 4658 Filed 05/24/16 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                          Case No. C-07-5944 JST

                                   9
                                           This Order Relates To:                             CASE MANAGEMENT ORDER
                                  10

                                  11       ALL ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13             The Court conducted a Case Management Conference on April 19, 2016. ECF No. 4572.

                                  14   At the conference, the Court and counsel discussed the setting of a trial schedule for the Sharp and

                                  15   Sears/Kmart cases, and a pre-trial and trial schedule for the DPP/Mitsubishi case. The Court

                                  16   ordered defendants in the two DAP cases and the DPP case to file suggested schedules by April

                                  17   25, 2016, and the plaintiffs in those cases to file responses on April 29, 2016. Id. The Court

                                  18   carefully considered the parties’ various submissions and issued a trial-setting order on May 4,

                                  19   2016. ECF No. 4628.

                                  20             In the interim, however, counsel for LG had filed a “reply” on May 3, 2016, ECF No.

                                  21   4624, that the Court did not consider when it issued its order on May 4, ECF No. 4628.1 LG

                                  22   stated that its lead counsel, Brad Brian, “has another lengthy trial set for March 6, 2017, in

                                  23   Napoleonville, Louisiana” ‒ the same date set for the Sears/Kmart case in which LG is a

                                  24   defendant.

                                  25

                                  26
                                  27

                                  28   1
                                           The Court’s order did not provide for the filing of a reply.
                                         Case 3:07-cv-05944-JST Document 4658 Filed 05/24/16 Page 2 of 2




                                   1
                                                In light of the foregoing, the Court is prepared to switch the dates of the Sharp and
                                   2
                                       Sears/Kmart trials, provided that no party to the Sharp trial has an unresolvable conflict with a
                                   3
                                       March 6, 2017 date. The DPP trial would then remain as originally set, and the trial schedule for
                                   4
                                       the remaining two cases would be as follows:
                                   5
                                       Sears/Kmart Trial
                                   6
                                           1.   Pretrial conference: December 12 and 13, 2016
                                   7
                                           2.   Trial: January 9, 2017
                                   8
                                       Sharp Trial
                                   9
                                           1.   Pretrial conference: February 7 and 8, 2017
                                  10
                                           2.   Trial: March 6, 2017
                                  11
                                           If any party to the Sharp case does have such a conflict, it is ordered to so advise the Court by
                                  12
Northern District of California




                                       May 27, 2016 at 5:00 p.m. Any submission filed must be limited to 3 pages. If no objection is
 United States District Court




                                  13
                                       filed by that date, the Court will switch the trial dates as set forth above. If an objection is filed,
                                  14
                                       the Court will take the matter under submission. No responsive briefs or replies will be permitted.
                                  15
                                                IT IS SO ORDERED.
                                  16
                                       Dated: May 24, 2016
                                  17                                                      ______________________________________
                                  18                                                                    JON S. TIGAR
                                                                                                  United States District Judge
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27                                                       2

                                  28
